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                         IN THE UNITED STATES DISTRICT COURT
                       FOR SOUTHERN DISTRICT OF WEST VIRGINIA
                                 HUNTINGTON DIVISION

JOHN TINNEL
                                                                     Civil Action No. 3:20-cv-00667
                Plaintiff,

v.


FORD MOTOR CREDIT COMPANY LLC

                Defendant.


                             NOTICE OF PENDING SETTLEMENT

         COMES NOW, the Defendant, Ford Motor Credit Company LLC, by counsel, and hereby

gives notice to the Court that the parties have reached an agreement to settle all matters at issue in

the case. The parties are currently completing documents to finalize the settlement and expect to

file a proposed Agreed Order of Dismissal within forty-five (45) days.

          Dated: June 14, 2021.

                                                    Respectfully submitted,

                                                    Ford Motor Credit Company LLC

                                                    By Counsel.


     /s/ Christopher A. Dawson
     Christopher A. Dawson (WV Bar #10633)
     Reisenfeld & Associates LLC
     Attorney for Defendant
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     Cincinnati, OH 45227
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                       IN THE UNITED STATES DISTRICT COURT
                     FOR SOUTHERN DISTRICT OF WEST VIRGINIA

JOHN TINNEL
                                                                  Civil Action No. 3:20-cv-00667
              Plaintiff,

v.


FORD MOTOR CREDIT COMPANY LLC

              Defendant.


        CERTIFICATE OF SERVICE FOR NOTICE OF PENDING SETTLEMENT


        The undersigned hereby certifies that foregoing Notice of Pending Settlement has been
served upon the following, via notification through the Court’s ECF system, this 14th day of June,
2021:

              Megan A. Patrick, Esq.
              Klein & Sheridan, LC
              3566 Teays Valley Road
              Hurricane, WV 25526
              mpatrick@kswvlaw.com
              Counsel for Plaintiff



                                                        /s/ Christopher A. Dawson
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